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                             Exhibit 2001
                      Prepared by Ben Ysursa,
                      Idaho Secretary of State
          Statewide Idaho Data for 2010 Primary Election
Number of Registered Voters for Primary Election (Includes
Election Day Registration)                                      749,900
Number of Voters Who Registered on Election Day                  10,513
Number of Ballots Cast in Primary Election                      203,015
Number of Votes Cast for Republican Candidates for
Governor                                                        163,111
Number of Registered Voters Who Requested Absentee
Ballots                                                          23,037
Number of Precincts in State of Idaho                               921

          Statewide Idaho Data for 2008 Primary Election
Number of Registered Voters for Primary Election (Includes
Election Day Registration)                                 721,669
Number of Voters Who Registered on Election Day             10,334
Number of Ballots Case in Primary Election                 182,627
Number of Votes Cast Ballots for Republican Candidates for
President (Including “None of the Names Shown”)            125,570
Number of Registered Voters Who Requested Absentee
Ballots                                                     22,660
Number of Precincts in State of Idaho                          921
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       Closed Primary Election with Blanket Re-Registration
                     Appropriation Breakdown
Mail Out New Cards to Every Registered Voter from
Secretary of State’s Office —
                 750,000 at 15.7¢ each                        $117,750
Postage for Completed Cards to be Returned to County
Clerks (Business Reply rate), Assuming 60% Return Rate
                 420,000 at 44¢ each                          $184,800
AutoSort Mailing Fee                                          $ 12,000
Cost to Print New Registration Cards                          $ 15,000
One-half $490,000 Cost to Counties for Updating Voter
Registration Records — Data Entry of 420,000 Cards            $245,000
One-half $100,000 Cost to County for Registration
Change Notifications                                          $ 50,000
Voter Education Efforts (Radio and Television)                $200,000
                 Total                                        $824,550

       Closed Primary Election Costs with Party Affiliation
                    Determined at the Polls
Additional Poll Workers                                       $ 90,000
Data Entry of Information for Poll Books                      $ 33,000
Absentee Ballot Data Entry                                    $ 13,000
Mail Ballot Precincts                                         $ 2,000
Ballot Printing Costs for Additional Ballots                  $ 22,000
New Registration Cards with Party Designation                 $ 15,000
Voter Education
           State                                              $100,000
           County                                             $100,000
                 Total                                        $375,000
